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            United States Court of Appeals
                 for the Fifth Circuit
                                                                         United States Court of Appeals
                                                                                  Fifth Circuit


                                 ____________                                   FILED
                                                                          August 28, 2023
                                  No. 22-30407                             Lyle W. Cayce
                                 ____________                                   Clerk

   John Lousteau,

                                                             Plaintiff—Appellant,

                                        versus

   Holy Cross College, Incorporated; Congregation of
   Holy Cross Moreau Province, Incorporated, incorrectly
   named as Congregation of Holy Cross Southern Province,
   Incorporated,

                                            Defendants—Appellees.
                   ______________________________

                   Appeal from the United States District Court
                      for the Eastern District of Louisiana
                            USDC No. 2:21-CV-1457
                   ______________________________

   Before King, Smith, and Elrod, Circuit Judges.
   Per Curiam:
          John Lousteau appeals the dismissal of his complaint in the district
   court. In light of an opinion rendered by the Louisiana Supreme Court in the
   intervening period, see T.S v. Congregation of Holy Cross S. Province, Inc., 2023
   WL 4195778 (La. June 27, 2023), we VACATE the district court’s decision
   and REMAND.
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          On August 1, 2021, Plaintiff-Appellant John Lousteau brought an
   action against Defendants-Appellees Holy Cross College, Inc. and
   Congregation of Holy Cross Moreau Province, Inc. 1 (collectively, “Holy
   Cross”) in the United States District Court for the Eastern District of
   Louisiana. Lousteau alleges that he suffered from sexual abuse carried out by
   Brother Stanley Repucci on two separate occasions while attending summer
   camp at Holy Cross as a 10- or 11-year-old boy in either 1968 or 1969. Brother
   Repucci was a teacher at Holy Cross College, Inc. and monitored a large
   dormitory there; he died years before the instant action was filed. Lousteau
   asserts that Holy Cross is liable for Brother Repucci’s conduct under the
   doctrine of respondeat superior.
          At the time of the alleged abuse, such an offense was subject to a one-
   year liberative prescriptive period. T.S, 2023 WL 4195778, at *4 n.7. In 1993,
   Louisiana’s Legislature extended the prescriptive period for offenses
   involving the abuse of a minor to ten years following the time at which the
   minor attained the age of majority. La. Stat. Ann. § 9:2800.9(A) (1993).
   But that legislation was silent as to claims that would have already been
   prescribed at the time of its enactment. In 2021, the Legislature passed Act
   322, which altogether eliminates the prescriptive period for offenses
   involving the abuse of a minor. 2021 La. Acts 322 § 1 (amending La. Stat.
   Ann. § 9:2800.9(A)). Act 322 also permits “any party whose action under
   [§] 9:2800.9 was barred by liberative prescription prior to the effective date”
   of Act 322 “to file an action under [§] 9:2800.9 against a party whose alleged
   actions are the subject of [§] 9:2800.9” for three years following Act 322’s
   enactment (the “Revival Provision”). Id. § 2. Lousteau invokes the Revival


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             Lousteau incorrectly referred to Congregation of Holy Cross Moreau Province,
   Inc. as Congregation of Holy Cross Southern Province, Inc. when filing his complaint.




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   Provision as his basis to bring a suit that would otherwise ostensibly be
   prescribed. Holy Cross subsequently moved for judgment on the pleadings.
           On June 8, 2022, the district court granted Holy Cross’s motion and
   dismissed Lousteau’s complaint. After determining that the Revival
   Provision applied to Lousteau’s claims, the court turned to the provision’s
   constitutionality and examined whether the Revival Provision violated the
   Louisiana Constitution’s Due Process Clause. See La. Const. Ann. art. I,
   § 2. Following its analysis of the relevant Louisiana caselaw and recognizing
   that this issue had yet to be addressed by Louisiana’s Supreme Court, the
   court made an Erie guess and concluded that the Revival Provision was
   violative of the Louisiana Constitution’s Due Process Clause. Lousteau now
   appeals the district court’s decision and requests that we certify this issue to
   the Louisiana Supreme Court. 2
           While this appeal was pending, the Louisiana Supreme Court issued
   its decision in T.S v. Congregation of Holy Cross Southern Province, Inc., 2023
   WL 4195778, a case with facts nearly identical to our own. In T.S, the
   namesake plaintiff alleged that he was abused by Brother Repucci while
   attending Holy Cross 3 in the 1960s and similarly relied on the Revival
   Provision to avoid a prescription defense. Id. at *1–2. The trial court,
   however, dismissed the suit, holding that the Revival Provision was
   unconstitutional. Id. at *2. On direct appeal, the Louisiana Supreme Court
   vacated the trial court’s decision, avoiding the constitutional question
   entirely. Id. at *3, 7. Specifically, the Court held that, in enacting the Revival
   Provision, Louisiana’s Legislature “did not clearly express an intent to revive
           _____________________
           2
               Alternatively, Lousteau asks that the district court’s decision be vacated.
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            While Holy Cross College, Inc. is a defendant in both suits, Holy Cross Southern
   Province, Inc. is the other defendant named in T.S as opposed to Holy Cross Moreau
   Province, Inc., the other defendant in our case.




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   prescribed sexual abuse claims that occurred prior to 1993.” Id. at *3. The
   Court reasoned that the Revival Provision only revives actions that are
   prescribed under § 9:2800.9; actions prescribed by predecessor statutes,
   such as the one brought by T.S., remain unaffected. Id. at *4 & n.7.
   Accordingly, the Court ruled that “T.S.’s action had long since prescribed”
   because it remained subject to a one-year liberative prescriptive period. Id. at
   *4.
          With the benefit of the T.S decision, we are now certain as to how this
   case should be resolved under Louisiana law. As previously noted, the facts
   of both cases are nearly identical. Therefore, it is apparent that the district
   court should not have ruled on the Revival Provision’s constitutionality.
   Instead, it is now clear that the Revival Provision’s wording makes it
   inapplicable to Lousteau’s claims. Accordingly, his complaint should be
   dismissed for that sole reason. On remand, the district court may consider
   whether Lousteau should be provided with leave to amend his complaint.
          VACATED and REMANDED.




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